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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

KAREN TATUM,                              )
                                          )
            Plaintiff,                    )
                                          )
      vs.                                 )         Case No. 4:23 CV 1219 RWS
                                          )
NORTH AMERICA CENTRAL                     )
SCHOOL BUS LLC,                           )
                                          )
            Defendant.                    )

                          MEMORANDUM AND ORDER

      This matter is before the Court on the latest round of filings by pro se

plaintiff Karen Tatum. ECF 59. Tatum continues to insist that she does not have to

follow Federal Rule of Civil Procedure 26(f). See ECF 59 (“I am against I’m

supposed to just talk to attorney and that’s my conference. I will await Court to

send me the times and dates I supposed to meet or be here.”).

      In addition to the Memorandum and Order I sent out on August 19, 2024,

ECF 43, the Federal Rules of Civil Procedure also impose upon the parties the

obligation to confer with each other without Court involvement about a proposed

discovery schedule for this case. Fed. R. Civ. P. 26(f) provides in relevant part as

follows:

      (f) Conference of the Parties; Planning for Discovery
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       (1) Conference Timing: The parties must confer as soon as practicable –
       and in any event at least 21 days before a scheduling order is due under Rule
       16(b).

       (2) Conference Content: Parties’ Responsibilities. In conferring, the parties
       must consider the nature and basis of their claims and defenses and the
       possibilities for promptly settling or resolving the case. The attorneys of
       record and all unrepresented parties that have appeared in the case are
       jointly responsible for arranging the conference, for attempting in good
       faith to agree on the proposed discovery plan, and for submitting to the
       court within 14 days after the conference a written report outlining the
       plan.

Fed. R. Civ. P. 26(f) (cleaned up). Rule 26(f) requires the parties, including

unrepresented parties such as Tatum, to confer with each other, not me, about a

proposed schedule for this case, which is then submitted to the Court for review.

Tatum is not exempt from this requirement simply because she is representing

herself, and her “objections” to following the Federal Rules of Civil Procedure are

overruled. Tatum cannot continue communicating with defendant by filing

endless memoranda with the Court. Instead, she must communicate with

defendant directly through defense counsel only.

       If Tatum refuses to communicate with defense counsel by email or phone,

then she must promptly send and respond to written communication by mail.1

Tatum is the plaintiff in this case, and the burden of prosecuting her claims

rests on her, not defendant. Therefore, her failure to timely meet her obligations


1
  Local Rule 3.04 obligates parties to confer in person or by telephone prior to filing any
discovery motion, and communication by mail is not sufficient to satisfy this requirement.
                                                2
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to prosecute her case can result in sanctions being entered against her, and those

sanctions could include the dismissal of her case with prejudice.

      However, given Tatum’s statement that she has “discovered a new defendant

that is relevant to her case,” I will not require the parties to confer and file a joint

proposed scheduling plan at this time. If Tatum wishes me to consider a request to

join an additional defendant prior to the case management order being entered, she

must file a motion for leave to amend her complaint in compliance with Local Rule

4.07 on or before October 21, 2024. If a motion for leave is filed by that date, the

Court will enter a new date for the submission of the joint proposed scheduling

plan following a ruling on the motion for leave to amend. If Tatum does not file a

motion for leave to amend by that date, then the parties shall file a joint proposed

scheduling plan in accordance with this Court’s August 19, 2024 Memorandum

and Order on or before November 1, 2024. The parties must comply with the

Court’s prior Orders and Federal Rule of Civil Procedure 26(f) in the creation of

the joint proposed scheduling plan, whenever due.

      Accordingly,

      IT IS HEREBY ORDERED that Karen Tatum’s motion to withdraw her

motion for judgment on the pleadings [59-2] is granted.




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      IT IS FURTHER ORDERED that the parties are not required to file

their joint proposed scheduling plan in accordance with this Court’s August

19, 2024, Memorandum and Order on or before October 4, 2024.

      IT IS FURTHER ORDERED that any motion for leave to amend the

complaint prior to the entry of a case management order must be filed in

compliance with Local Rule 4.07 on or before October 21, 2024. If no such

motion is filed by that date, the parties shall file a joint proposed scheduling plan in

accordance with this Court’s August 19, 2024 Memorandum and Order on or

before November 1, 2024. Otherwise, the Court will enter a new deadline for

submission of a joint proposed scheduling plan following a ruling on any motion

for leave to amend.

      The parties must comply with the Court’s prior Orders and Federal

Rule of Civil Procedure 26(f) in the creation of the joint proposed scheduling

plan, whenever due.




                                          RODNEY W. SIPPEL
                                          UNITED STATES DISTRICT JUDGE

Dated this 3rd day of October, 2024.




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